          Case 1:21-cr-00107-RDM Document 299 Filed 03/03/23 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                  Criminal Action No. 21-00107 (RDM)
   UNITED STATES OF AMERICA
                                                  Honorable Randolph D. Moss
                 v.

   BRUNO JOSEPH CUA


        DEFENDANT BRUNO CUA’S NOTICE OF SUBMISSION OF EXHIBITS

       Defendant Bruno Cua, through his counsel, files this notice of defense Exhibit DX1

submitted at the stipulated trial in this matter. The defense submitted a copy of Exhibit DX1 to

the Court by email on February 23, 2023.

       Exhibit DX1 is a video produced to the defense by the government. It is a United States

Capitol Police (USCP) Closed-Circuit Television Video (CCTV) that can be briefly described as

depicting the hallway containing the doors to the Senate Gallery. The defense understands the

camera that filmed DX1 is at the West end of the hallway near the Senate Gallery and points to

the East. The camera that filmed DX1 is at the opposite end of the hallway of the camera that

filmed the video that is government Exhibit 107 and is pointed in the opposite direction of the

camera that filmed Exhibit 107. The video in DX1 is 45 seconds long.
        Case 1:21-cr-00107-RDM Document 299 Filed 03/03/23 Page 2 of 3



                                   Respectfully submitted,

DATED: March 3, 2023               /s/ William E. Zapf
                                   Jonathan Jeffress (D.C. Bar No. 479074)
                                   William E. Zapf (D.C. Bar No. 987213)
                                   KaiserDillon PLLC
                                   1099 14th Street NW
                                   8th Floor West
                                   Washington, DC 20005
                                   T: (202) 640-2850
                                   F: (202) 280-1034
                                   jjeffress@kaiserdillon.com
                                   wzapf@kaiserdillon.com

                                   Attorneys for Bruno Joseph Cua




                                      2
          Case 1:21-cr-00107-RDM Document 299 Filed 03/03/23 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of March, 2023, I filed the foregoing with the Clerk of

the United States District Court for the District of Columbia by using the CM/ECF system and

served a copy of it by electronic mail on counsel for the United States, Assistant United States

Attorneys Kaitlin Klamann, Carolina Nevin, and Kimberly Paschall.



                                                             /s/ William E. Zapf
                                                             William E. Zapf
